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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION



UNITED STATES OF AMERICA,              )
                                       )
                                       )
v.                                     ) CRIMINAL INDICTMENT
                                       )
JEROME BUSHAY, et al.,                 ) NUMBER 1:10-cr-521-TCB
                                       )
                                       )
            Defendants.                )
                                       )
NUGEN MOTOR SPORTS, INC.,              )
d/b/a Nugen MotorSports,               )
                                       )
            Movant.                    )


                                 ORDER

      This matter is before the Court on Magistrate Judge Baverman’s

Report & Recommendation (“R&R”) [365], which denies Nugen Motor

Sports, Inc.’s (“Nugen’s”) motion for partial dismissal of forfeiture

provision and release of certain wrongly seized property [216].

      After conducting a careful and complete review of a magistrate

judge’s findings and recommendations, a district judge may accept, reject,

or modify a magistrate judge’s report and recommendation.
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28 U.S.C. § 636(b)(1)(C); Williams v. Wainwright, 681 F.2d 732 (11th Cir.

1982), cert. denied, 459 U.S. 1112 (1983). A district judge “shall make a de

novo determination of those portions of the report or specified proposed

findings or recommendations to which objection is made.”

28 U.S.C. § 636(b)(1)(C). The district judge must “give fresh consideration

to those issues to which specific objection has been made by a party.”

Jeffrey S. v. State Bd. of Educ. of Ga., 896 F.2d 507, 512 (11th Cir. 1990).

Those portions of a report and recommendation to which an objection is

not asserted are reviewed for plain error. United States v. Slay, 714 F.2d

1093, 1095 (11th Cir. 1983).

      The Court has conducted a careful review of the magistrate judge’s

legal conclusions and Nugen’s objections thereto. Having done so, the

Court finds that Judge Baverman’s legal conclusions were correct and that

Nugen’s objections have no merit. Nugen, a third party claimant, has no

right to intervene in this criminal case; it may only assert its interest in the

seized property through an ancillary forfeiture proceeding once the

criminal case has concluded and this Court has entered a preliminary order

of forfeiture. See United States v. Cone, 627 F.3d 1356 (11th Cir. 2010)

(“Nowhere do the provisions [of 21 U.S.C. § 853] grant [third parties] a



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private cause of action or right to appeal a court's ruling outside of an

ancillary forfeiture proceeding,” and “Section 853 affirmatively bars

interference by non-party petitioners outside of the ancillary proceeding

described in Section 853(n) and in Federal Rule of Criminal Procedure

32.2(c) . . .”); United States v. Douglas, 55 f3d 584 (11th Cir. 1995) (21

U.S.C. § 853(k) expressly bars third parties from commencing a suit

against the United States government except as provided in 853(n)); see

also U.S. v. Lazarenko, 469 F.3d 815 (9th Cir. 2006) (“The law appears

settled that an ancillary proceeding constitutes the only avenue for a third

party claiming an interest in seized property”).

      Accordingly, the Court ADOPTS AS ITS ORDER the R&R [365] and

DENIES Nugen’s motion for partial dismissal of forfeiture provision and

release of certain wrongly seized property [216].

      IT IS SO ORDERED this 22nd day of August, 2011.




                                     Timothy C. Batten, Sr.
                                     United States District Judge




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